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FILED |
IN OPEN COURT
UNITED STATES DISTRICT COURT 2019
MIDDLE DISTRICT OF FLORIDA eS BS.
ORLANDO DIVISION CLERK

U. S. DISTRICT COURT

 

DUSTIN SAUDER,
Plaintiff,
-VS- Case No. 6:16-cv-932-Orl-28GJK

LEO’S CONCRETE SPECIALTIES, INC.
and LEO BADALAMENTI,

Defendants.
i]

VERDICT

 

1. Do you find from a preponderance of the evidence that Leo’s Concrete
Specialties, Inc. and Leo Badalamenti failed to pay Dustin Sauder the overtime pay

required by law?

Answer Yes or No [Vv O

Note: If your answer to Question 1 is No, this ends your
deliberations, and your foreperson should sign and date the
last page of this verdict form without answering any of the
other questions. If your answer to Question 1 is Yes,
answer Questions 2 and 3.

2. Do you find from a preponderance of the evidence that Leo’s Concrete
Specialties, Inc. and Leo Badalamenti knew or showed reckless disregard for whether

the FLSA prohibited their conduct?

Answer Yes or No
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3. Do you find from a preponderance of the evidence that Dustin Sauder should

be awarded damages?

Answer Yes or No

If your answer is “Yes,”
in what amount?

SO SAY WE ALL.

Koard Mabon

Y  Foreperson

pateo: 7-25- 20/8

 
